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FILED

UNITED STATES DISTRICT COURT p54,
DISTRICT OF FLORIDA SPECT AMI: on
DIVISION CLERK Us aiern,
JAMES WELDON STRICKLER and OT RYERS Florina OA
JUDITH ANNE STRICKLER,

   
 

Plaintiff,

v. CASE NO.

WAL-MART STORES EAST, LP, AIR TS1-Fim- 3¢ Wa
Defendant.

/
WAL-MART STORES EAST, L.P.’S NOTICE OF REMOVAL

Defendant, WAL-MART STORES EAST, L.P., (“Walmart”), by and through their
undersigned counsel, and pursuant to 28 U.S.C. §§ 1332, 1441 and 1446(b)(3), and Rule
81(c) of the Federal Rules of Civil Procedure, removes to this Court the action filed in the
20th Judicial Circuit Court in and for Collier County, Florida, Case No. 2018-CA-002689
with full reservation of rights, exceptions and defenses, and in support thereof states:

l. BACKGROUND

1. On or about September 10, 2018, Plaintiffs commenced this action by filing
a Complaint against Wal-Mart Stores East, L.P. in the 20th Judicial Circuit Court in and
for Collier County, Florida. See Pl.’s Compl. attached as Ex. “A.” The Complaint was
served on Wal-Mart Stores East, L.P. on September 11, 2018.

2. Plaintiff, JAMES WELDON STRICKLER, alleges claims for negligence and
negligent mode of operation against Walmart as a result of injuries he allegedly sustained
on June 4, 2018 when he tripped and fell on the threshold in the back restroom of the

Walmart store located at 5420 Juliet Boulevard, Naples, Florida 34109.
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3. Plaintiff, JUDITH ANNE STRICKER, alleges a claim for loss of consortium
arising out of the alleged incident.

4. Specifically, the Plaintiffs allege Waimart negligently created and/or
maintained an unsafe walkway in its store, failed to reasonably inspect the premises in
order to determine and identify unsafe and/or dangerous conditions existing on the
premises, failed to follow applicable codes and standards including those promulgated by
ADA which pertain to creating and maintaining safe walkways, failed to warn of the
allegedly dangerous condition, and that Walmart negligently engaged in a mode of
operations Defendant knew or should have known would result in unreasonably
dangerous conditions, which was the proximate cause of injury and damages to Plaintiffs.
See Ex. “A” at J 9-15. Walmart denies these allegations.

5. Plaintiffs’ Complaint is removable based on diversity of citizenship of the
parties, and because the claimed amount in controversy is in excess of $75,000.00
exclusive of interest, attorney's fees, and costs.

6. Walmart attaches hereto and makes a part of this notice a copy of the
process, pleadings, and other papers filed in the 20th Judicial Circuit of the State of
Florida in and for Collier County together with a docket sheet from the Clerk of the Court.
See attached as Composite Ex. “B.”

7. Walmart reserves the right to raise all defenses and objections in this action
after the action is removed to this Court.

Hl. REMOVAL IS TIMELY
8. In accordance with 28 U.S.C. § 1446(c), Walmart files this Notice of

Removal within thirty (30) days of the date that it received Plaintiffs Response to Request
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for Admissions. Plaintiff's Response to Request for Admissions is the first “other paper”
received after the filing of this action, from which it could be ascertained that the case is
one which was removable. The thirty (30) day period commenced on October 23, 2018,
when Plaintiffs served Walmart with the Plaintiffs Response to Request for Admissions.
9. Venue exists in the United States District Court for the Middle District of
Florida, because the 20th Judicial District in and for Collier County, where Plaintiffs filed
their state court Complaint against Walmart, is located within the Middle District of Florida.

lil. THERE IS COMPLETE DIVERSITY WITHIN THE PARTIES

 

10. Under 28 U.S.C. § 1332(a)(1), “[t]he district court shall have original
jurisdiction of all civil actions where the matter in controversy exceeds the sum or value
of $75,000.00, exclusive of interest and costs, and is between -— citizens of different
States.” This action satisfies the complete diversity of citizenship requirement of 28 USC
§ 1332(a)(1).

11. WAL-MART STORES EAST, L.P. was at the time of the alleged incident,
and is currently, a Delaware limited partnership.

12. WSE Management, LLC is the general partner and WSE Investments, LLC,
is the limited partner of Walmart. WSE Management, LLC and WSE Investments, LLC
were at the time of filing the Complaint, and still are, Delaware limited liability companies.

13. The sole member of WSE Management, LLC and the sole member of WSE
Investments, LLC is, and was at the time of the filing of the Complaint, Wal-Mart Stores,
East, LLC, and Arkansas Limited Liability Company.

14. |The sole member of Wal-Mart Stores East, LLC, is and was at the time of

filing the Complaint, Wal-Mart Stores, Inc.
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15. | Wal-Mart Stores, Inc., is and was at the time of the filing of the Complaint,
an incorporated entity under the laws of the State of Delaware.

16. The principle place of business for all of the above mentioned entities (Wal-
Mart Stores East, LP, WSE Management, LLC, WSE Investments, LLC. Wal-Mart Stores
East, LLC, and Wal-Mart Stores, Inc.) is, and was at the time of the filing of the Complaint,
Bentonville, Arkansas.

17. Hence, Defendant, Wal-Mart Stores East, LP, is a citizen of both Delaware
and Arkansas, and is not a citizen of Florida.

18. Plaintiffs are citizens of the State of Florida residing in Collier County,
Florida. Plaintiffs are not citizens of Delaware or Arkansas.

19. Although Plaintiffs Complaint does not specifically state Plaintiffs’
citizenship, the 11" Circuit has held “citizenship is equivalent to ‘domicile’ for purposes of
diversity jurisdiction.” McCormick v. Aderhold, 293 F.3d 1254, 1257 (11" Cir. 2002).
Further, “[A] person’s domicile is the place of his true, fixed, and permanent home and
principal establishment, and to which he has the intention of returning whenever he is
absent therefrom.” Sunseri_v. Macro Cellular, 412 F. 3d 1247, 1249 (11 Cir. 2005).
Lastly, “it is a well-established rule that a party’s current residence is prima facie evidence
of her domicile.” Estate of Cochran v. Marshall, 2017 WL 5899200 (MD Fla 2017), citing
Deckers v. Kenneth W. Rose Inc., 592 F. Supp. 25, 28 (MD Fla 1984).

20. _‘~ Plaintiffs’ residence in Collier County, Florida is prima facia evidence of their
domicile which is equivalent to citizenship for purposes of establishing diversity.

McCormick at 1257.
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21. Because there exists complete diversity between Plaintiffs and Walmart
who are citizens of different states, and because the amount in controversy exceeds
$75,000.00 exclusive of interest, fees, and costs, this action is removable pursuant to 28
U.S.C. §§ 1332, 1441 and 1446.

IV. AMOUNT IN CONTROVERSY

22. The amount in controversy exceeds $75,000.00, exclusive of attorney’s
fees, costs and interest.

23. Although Plaintiffs Complaint alleges simply that the negligence action
exceeds the State of Florida circuit court jurisdictional minimum — “damages that exceeds
Fifteen Thousand Dollars ($15,000.00), exclusive of interest, costs and attorneys’ fees,”
(Exhibit A, 1) — a review of the full Complaint, Response to Request for Admissions,
medical records and medical expenses received confirm that the amount in controversy
exceeds $75,000.

24. Plaintiffs allege in their Complaint that as a direct and proximate result of
the negligence of Walmart, Plaintiff JAMES WELDON STRICKLER suffered “bodily injury
and resulting pain and suffering, disability, disfigurement, mental anguish, loss of the
capacity for the enjoyment of life, expense of hospitalization, medical and nursing care
and treatment, expense of additional household related expenses, loss of earnings, the
loss of the ability to earn money, and aggravation of a previously existing condition. These
losses are either permanent or continuing and Plaintiff, JAMES WELDON STRICKLER,
will suffer the losses in the future.” Exhibit “A,” 11;15.

25. Plaintiffs allege in their Complaint that as a direct and proximate result of ©

the negligence of Walmart, Plaintiff JUDITH ANNE STRICKLER suffered “the loss of the
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services, comfort, society, companionship and consortium of her spouse, Plaintiff JAMES —
WELDON STRICKLER, for a substantial period of time.” Exhibit “A,” 17.

26. In addition, on October 23, 2018 Plaintiffs served their response to
Defendant’s Request for Admissions, wherein Plaintiff JAMES WELDON STRICKLER
admits that “it is likely he is seeking damages in excess of $75,000.00.” See copy of
Plaintiffs Response to Defendant’s Request for Admissions attached as Composite Ex.
“C”.

27. Additionally, on October 25, 2018 Plaintiffs served their Response to
Request for Production containing Plaintiff's medical records which confirm Plaintiff
suffered a comminuted displaced left periprostetic femur fracture which required a left
total hip arthroplasty.

28. Although Plaintiffs Complaint does not specify an amount in controversy
other than the state court $15,000.00 jurisdictional minimum, it is clear from Plaintiffs
Response to Request for Admissions as well as a review of Plaintiffs Complaint and
review of Plaintiff's medical records and bills produced in discovery that Plaintiff's claimed
damages exceed the jurisdictional minimum in this Court of $75,000.00. See Jennings v.
Powermatic, No. 3:14-CV-250-J-32JRK, 2014 WL 2003116, at *2 (M.D. Fla. May 15,
2074), (Plaintiffs Response to Request for Admissions is competent evidence of the
amount in controversy).

29. Where, as here, a plaintiff makes “an unspecified demand for damages in
state court, a removing defendant must prove by a preponderance of the evidence that

the amount in controversy more likely than not exceeds the ... jurisdictional requirement.”
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Tapscott v. MS Dealer Service Corp., 77 F.3d 1353, 1357 (11th Cir. 1996), abrogated on
other grounds by Cohen v. Office Depot, Inc., 204 F.3d 1069 (11th Cir. 2000).

30. “In the Eleventh Circuit, a district court may consider the complaint and any
later received paper from the plaintiff as well as the notice of removal and accompanying
documents when deciding upon a motion to remand.” Kaiz v. J.C. Penney Corp., Inc.,
2009 WL 1532129, *4 (S.D. Fla. June 1, 2009) (citing Lowery v. Alabama Power Co., 483
F.3d 1184, 1213-1214 (11th Cir. 2007)). “Additionally, a district court may consider
evidence outside of the removal petition if the facts therein existed at the time of removal.”
id (citing Williams v. Best Buy Co., 269 F.3d 1316, 1320 (11th Cir. 2001) and Sierminski
v. Transouth Financial Corp., 216 F.3d 945, 949 (11th Cir. 2000).

31. Based upon the allegations in the Complaint, Plaintiffs alleged injuries,
asserted medical bills and Response to Request for Admissions there can be no doubt
that the amount in controversy exceeds the requisite $75,000.00. The medical bills alone
exceed $305,993.89. This does not take into account Plaintiffs alleged future
compensatory damages, nor Plaintiffs past and future non-compensatory damages —
“bodily injury and resulting pain and suffering, disability, disfigurement, mental anguish,
loss of the capacity for the enjoyment of life, expense of hospitalization, medical and
nursing care and treatment, expense of additional household related expenses, loss of
earnings, the loss of the ability to earn money, and aggravation of a previously existing
condition. These losses are either permanent or continuing and Plaintiff, JAMES
WELDON STRICKLER, will suffer the losses in the future.” Exhibit “A,” 911;15. Thus,
considering all of the information, the matter exceeds the $75,000 amount-in-controversy.

requirement. Roe v. Michelin N. Am., Inc., 613 F.3d 1058, 1062 (11th Cir. 201 0) (“[Cjourts
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may use their judicial experience and common sense in determining whether the case
stated in a complaint meets federal jurisdictional requirements.”). “Although separately
the allegations in the Complaint, the medical information provided in Plaintiff's pre-suit
demand letter, and Plaintiffs equivocal discovery responses would not prove by a
preponderance of the evidence that more than $75,00, is in controversy, together they
suffice.” Stephenson v. Amica Mutual Insurance Company, 2014 WL 4162781 (M.D. Fla.
Aug. 21, 2014)

32. Notwithstanding, in Jennings v. Powermatic, No. 3:14-CV-250-J-32JRK,
2014 WL 2003116, at *2 (M.D. Fla. May 15, 2014), the court determined the defendant
established its burden of proving the amount in controversy exceeded $75,000.00 where
the plaintiffs response to the defendant's request for admissions admitted the plaintiff
was seeking damages in excess of $75,000. /d. Further, the plaintiff's response to
request for admissions alone met the definition of an “other paper” under § 1446(c)(3)(A).
Id. at *3. Thus, the court found the defendant established complete diversity and that the
defendant established that the amount in controversy exceeds the minimum jurisdictional
requirement; therefore, the court denied the plaintiff's motion to remand. /d. at *5.

33. Additionally, the court concluded that an affirmative response to a request
for admission may establish the amount in controversy. See, e.g., Diaz v. Big Lots Stores,
Inc., Case No. 5:10—cv—-319, 2010 WL 6793850 (M.D. Fla. Nov. 5, 2010). The removing
defendant properly established the amount in controversy by showing an admission from
the plaintiff admitting the damages exceeded the jurisdictional amount. /d. at *3. Here,

Plaintiff's alleged damages as admitted in his Response to the Defendant's Request for
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Admission alone exceed the jurisdictional minimum of this court, and thus Walmart has
established its burden of proving the amount in controversy exceeds $75,000.00.
Vv. CONCLUSION

Because there exists complete diversity between Plaintiffs and Walmart who are
citizens of different states, and because the amount in controversy exceeds $75,000.00
exclusive of interest, fees, and costs, this action is removable pursuant to 28 U.S.C. §§
1332, 1441 and 1446. Upon filing of this Notice of Removal, Walmart will promptly give
written notice to Plaintiffs, through his attorneys of record, and the Clerk of the Circuit
Court for the 20th Judicial Circuit in and for Charlotte County, Florida.

WHEREFORE, Defendant, WAL-MART STORES EAST, L.P., respectfully requests
the Notice of Removal be accepted as good and sufficient as required by law, and that
the aforesaid action, Case No. 2018-CA-002689, on the docket of the Court for the 20th
Judicial Circuit in and for Collier County, Florida, be removed from that Court to the United
States District Court for the Middle District of Florida, and that this Court assume full and
complete jurisdiction thereof.and issue all necessary orders and grant all general

equitable relief to which Walmart is entitled.

Respectfully submitted,

 

Traci T. McKee
Amanda J. Sharkey Ross

| HEREBY CERTIFY that on ____ | electronically filed the foregoing with the Clerk
of the Court by using the CM/ECF system which will send a notice of electronic filing to
the following:

Mark A. Miller, Esquire
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